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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


 GRETEL ANN CARVELL                                            Civil No.        6:20-CV-01285
 JORDAN
             Plaintiff

                  VS.                                            Judge Drell
         K P GIBSON, ET AL                                    Magistrate Hanna
                                                                 Judge
                 Defendant

                                PROPOSED PLAN OF WORK

On 05/06/2022, the following individuals participated in a meeting           by telephone/other
electronic means, or     in person during which this Plan of Work was formulated: (List all parties
and their counsel, if any, including e-mail addresses for trial attorneys.)

J. Clay LeJeune on behalf of the plaintiffs.
Ronald S. Bryant on behalf of the defendants.

Part A

Based on the information now reasonably available, the parties have agreed upon the following:

 1.   08/15/2022              Deadline for completion of discovery
 2.   10/03/2022              Final date for filing dispositive motions
 3.   09/01/2022              Final date for adding parties
 4.   09/01/2022              Final date for filing amended pleadings
 5.   06/15/2022              Final date for employing experts
 6.   07/15/2022              Final date for exchanging reports of experts
 7.   09/01/2022              Final date for taking depositions of experts
                              Date disclosures under Fed. R. Civ. P. 26(a) were made or will be
 8.   Done                    made

9. Considering the subjects addressed by Fed. R. Civ. P. 26(f), the parties propose the following
   changes, limitations, or other matters:   NONE; or          .

Part B

The following areas of disagreement, issues, or problems have arisen regarding the information
set forth in Section A and/or the participation of counsel/unrepresented parties in the Plan of Work
process:       NONE; or         .
                                                                                          (Rev. 1/28/13)
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      04/29/2022                     /s/ Jonathon Songy
           (Date)                                      (Signature)

                                                  Jonathan Songy
                                                     (Printed Name)


      04/29/2022                     /s/ J. Clay LeJeune
           (Date)                                          (Signature)

                                                  J. Clay LeJeune
                                                      (Printed Name)


      05/02/2022                     /s/ Shane Bryant
           (Date)                                          (Signature)

                                                   Shane Bryant
                                                     (Printed Name)



           (Date)                                        (Signature)


                                                        (Printed Name)



           (Date)                                        (Signature)


                                                        (Printed Name)



           (Date)                                        (Signature)


                                                        (Printed Name)




                                                                         (Rev. 1/2/13)
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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                    LAFAYETTE DIVISION

          GRETEL ANN CARVELL                                   Civil No.:         6:20-CV-01285
              JORDAN
                 Plaintiff

                  VS.                                            Judge Drell
         K P GIBSON, ET AL                                    Magistrate Hanna
                                                                 Judge
                   Defendant

                                              ORDER

         Considering the Proposed Plan of Work submitted herein,

         IT IS ORDERED that the Plan of Work be and is hereby accepted and shall become the

Scheduling Order in this case, subject to the following modifications:

______________________________________________________________________________

______________________________________________________________________________

         It appearing to the Court that the provisions of the Plan of Work will be satisfied on ______,

20___,

         IT IS FURTHER ORDERED that a pretrial conference be held, in Chambers, on ______,

20___, beginning at ___:___ __.M.

         IT IS FURTHER ORDERED that the Clerk of court send out the Civil Case Management

Order No. 2 – Pretrial Proceedings.

         IT IS FURTHER ORDERED that counsel are to review this Court’s Standing Order –

Possession and Use of Electronic Devices in the Courtroom found on our website at

www.lawd.uscourts.gov on Judge Dee D. Drell’s forms page.

         SIGNED on this _____ day of ______, 20___, at Alexandria, Louisiana.



                                                             DEE D. DRELL, JUDGE
                                                        UNITED STATES DISTRICT COURT
                                                                                             (Rev. 1/2/13)
